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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Rigoberto Chavez Jr
                               Plaintiff,
v.                                                Case No.: 1:17−cv−03102
                                                  Honorable Charles R. Norgle Sr.
Ricardo Marin, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 7, 2019:


        MINUTE entry before the Honorable Sheila M. Finnegan: Magistrate Judge
telephone status hearing held on 1/7/2019. The parties report that plaintiff has forwarded
the executed settlement agreement to defense counsel and will file a stipulation to dismiss
once the original agreement has been signed by defendants. Since the district judge will
enter the dismissal order, this referral is closed. Mailed notice(sxw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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